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                                                   2
                                                     LAWYERS FOR THE PEOPLE
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                                                   6
                                                       Attorneys for Plaintiff
                                                   7

                                                   8
                                                                                   UNITED STATES DISTRICT COURT
                                                   9
                                                                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                  10

                                                  11 STEVE MORALES an individual; and S.M. )                Case No.: 3:21-cv-03957-EMC
                                                       a minor, by and through their guardian ad )
                                                  12                                             )          SECOND AMENDED COMPLAINT FOR
                                                       litem, WENDY CHAU;
                                                                                                 )          DAMAGES
                                                  13
1901 Harrison St., Ste. 1140, Oakland, CA 94612




                                                                      Plaintiffs,                )          (42 U.S.C § 1983)
                                                                                                 )
                                                  14
       LAWYERS FOR THE PEOPLE




                                                       v.                                        )
         POINTER & BUELNA, LLP




                                                                                                 )
             Tel: (510) 929 - 5400




                                                  15                                             )
                                                       CITY AND COUNTY OF SAN                    )          JURY TRIAL DEMANDED
                                                  16   FRANCISCO, a municipal corporation;       )
                                                       JUSTICE OPERATING COMPANY, LLC, )
                                                  17   a corporation; and DOES 1-50, inclusive.  )
                                                                                                 )
                                                  18                  Defendants.                )
                                                                                                 )
                                                  19

                                                  20                                           JURISDICTION
                                                  21
                                                                  1. This action arises under Title 42 of the United States Code, Section
                                                  22
                                                       1983. Jurisdiction is conferred upon this Court by Title 28 of the United States Code, Sections
                                                  23
                                                       1331 and 1343. The unlawful acts and practices alleged herein occurred in the City of San
                                                  24
                                                       Francisco, in San Francisco County, California, which is within this judicial district.
                                                  25



                                                                                   SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                                            Morales, et al. v. CCSF, et al.
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                                                                                                    PARTIES
                                                   1
                                                                  2. Plaintiff Steve Morales (hereinafter “Plaintiff Morales”) is a competent adult, a
                                                   2

                                                   3 resident of San Francisco, California, and a citizen of the United States. Plaintiff is the biological

                                                   4 father of minor S.M.

                                                   5              3. Plaintiff S.M. (hereinafter “S.M.”) is a minor and brings this suit by and thru

                                                   6 guardian ad litem, WENDY CHAU. S.M. is the biological child of Plaintiff Chau and Plaintiff

                                                   7 Morales.

                                                   8
                                                                  4. Defendant JUSTICE OPERATING COMPANY, LLC., is and at all times herein
                                                   9
                                                       mentioned a corporation duly organized and existing under the laws of the State of California
                                                  10
                                                       that manages and operates the HILTON HOTEL business and its employees at 750 Kearny
                                                  11
                                                       Street, San Francisco, California.
                                                  12
                                                                  5. Defendant CITY AND COUNTY OF SAN FRANCISCO (hereinafter “Defendant
                                                  13
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                                                       CCSF”) is a municipal public entity duly authorized and existing as such in and under the laws
                                                  14
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                                                  15
                                                       of the State of California; and at all times herein mentioned, Defendant CCSF has possessed the

                                                  16 power and authority to adopt policies and prescribe rules, regulations and practices affecting the

                                                  17 operation of the San Francisco Police Department and its tactics, methods, practices, customs,

                                                  18 and usage. At all relevant times, Defendant CCSF was the employer of DOES 1-25, individually

                                                  19 and as law enforcement officers.

                                                  20              6. Plaintiffs are ignorant of the true names and capacities of those Defendants named
                                                  21
                                                       herein as DOES 1 through 25, inclusive. Plaintiffs will amend this Complaint to allege said
                                                  22
                                                       Defendants true names and capacities when that information becomes known to Plaintiffs.
                                                  23
                                                       Plaintiffs are informed and believes, and thereon alleges that DOES 1 through 25, inclusive, are
                                                  24
                                                       legally responsible and liable for the incident, injuries, and damages hereinafter set forth, and
                                                  25



                                                                                   SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                                            Morales, et al. v. CCSF, et al.
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                                                       that each of said Defendants proximately caused the injuries and damages by reason of negligent,
                                                   1
                                                       careless, deliberately indifferent, intentional, or willful misconduct, including the negligent,
                                                   2

                                                   3 careless, deliberately indifferent, intentional, willful misconduct in creating and otherwise

                                                   4 causing the incidents, conditions, and circumstances hereinafter set forth, or by reason of direct

                                                   5 or imputed negligence or vicarious fault or breach of duty arising out of the matters herein

                                                   6 alleged. Plaintiffs will seek to amend this Complaint to set forth said true names and identities of

                                                   7 DOES 1 through 25, inclusive, when they have been ascertained.

                                                   8
                                                                  7. Plaintiffs are ignorant of the true names and capacities of Defendants DOES 26
                                                   9
                                                       through 50, inclusive, and therefore sue these defendants by such fictitious names. Plaintiffs are
                                                  10
                                                       informed and believe and thereon allege that each Defendant so named was employed by
                                                  11
                                                       Defendant CCSF at the time of the conduct alleged herein. Plaintiffs allege that each of
                                                  12
                                                       Defendants DOES 26 through 50 were responsible for the training, supervision and/or conduct of
                                                  13
1901 Harrison St., Ste. 1140, Oakland, CA 94612




                                                       the police deputies and/or agents involved in the conduct alleged herein. Plaintiffs allege that
                                                  14
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                                                  15
                                                       each of Defendants DOES 26 through 50 was also responsible for and caused the acts and

                                                  16 injuries alleged herein. Plaintiffs will amend this Complaint to state the names and capacities of

                                                  17 DOES 26 through 50, inclusive, when they have been ascertained.

                                                  18              8. In doing the acts alleged herein, Defendants, and each of them, acted within the

                                                  19 course and scope of their employment for the CITY AND COUNTY OF SAN FRANCISCO

                                                  20 and/or HILTON EMPLOYER INC.

                                                  21
                                                                  9. Due to the acts and/or omissions alleged herein, Defendants, and each of them,
                                                  22
                                                       acted under color of authority and/or under color of law.
                                                  23
                                                                  10. Due to the acts and/or omissions alleged herein, Defendants, and each of them, act
                                                  24
                                                       as the agent, servant, and employee and/or concert with each of said other Defendants herein.
                                                  25



                                                                                   SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                                            Morales, et al. v. CCSF, et al.
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                                                                  11. Plaintiffs filed a timely government tort claim and the CITY AND COUNTY OF
                                                   1
                                                       SAN FRANCISCO rejected the claim by operation of law.
                                                   2

                                                   3                                     FACTUAL ALLEGATIONS

                                                   4              12. On May 28, 2020, Wendy Chau was at the Hilton Hotel located at 750 Kearny

                                                   5 Street in San Francisco California. Ms. Chau’s sister was visiting from out of town and staying at

                                                   6 the Hotel. Ms. Chau and her sister arrived at the Hilton around 11:00 a.m. and checked-in. Ms.

                                                   7 Chau and her sister left the hotel and returned in the evening with Ms. Chau’s infant, Plaintiff

                                                   8
                                                       S.M. Neither Ms. Chau nor her sister had an issue entering the hotel nor had they been asked by
                                                   9
                                                       security or any hotel employee to verify their identification upon returning.
                                                  10
                                                                  13. Later that evening, Plaintiff Steve Morales, went to the Hilton Hotel to meet with
                                                  11
                                                       his fiancé, Plaintiff Wendy Chau, their child Plaintiff S.M., and Ms. Chau’s sister.
                                                  12
                                                                  14. Mr. Morales noticed that the hotel had a mask mandate and put on his mask to
                                                  13
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                                                       enter the hotel. As he was walking through the hotel, he noticed no one else was wearing a mask.
                                                  14
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                                                  15
                                                       Mr. Morales was unsure how to get to the hotel room and asked the hotel security guard for

                                                  16 directions to the elevator. The security guard questioned Mr. Morales about being a registered

                                                  17 guest and he explained he was not a registered guest but visiting a registered guest. The

                                                  18 registered hotel guest, Ms. Chaus’s sister, met Mr. Morales and they both went up the elevator

                                                  19 and to the hotel room.

                                                  20              15. After visiting, Mr. Morales left with his infant to go to his car to wait for Ms.
                                                  21
                                                       Chau and her sister. As he walked out the hotel with his daughter in one arm and a bag in
                                                  22
                                                       another, a friend in the lobby met him and they both proceeded to walk out to the car.
                                                  23
                                                                  16. Mr. Morales stepped out of the hotel onto the city sidewalk with his infant in his
                                                  24
                                                       arms and proceeded to walk to his car with a friend. Suddenly, two yet-to-be-identified San
                                                  25



                                                                                   SECOND AMENDED COMPLAINT FOR DAMAGES
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                                                       Francisco Police Officers came from behind Mr. Morales and jerked one of his arms behind his
                                                   1
                                                       back, nearly causing him to lose hold of his infant child and challenged to fight him. Unable to
                                                   2

                                                   3 see whom the persons were, Mr. Morales was fearful he was being mugged and he pulled away

                                                   4 for his and his child’s safety.

                                                   5              17. Officers grabbed and twisted his arm while he held his baby in the other and told

                                                   6 him he was being detained. Plaintiff permitted the officer to twist one of his arms and held his

                                                   7 baby in the other. Plaintiff asked why he was being detained. Officers lied that he was seen

                                                   8
                                                       having an argument with his wife and asked who the baby was to him. Plaintiff responded that it
                                                   9
                                                       was his daughter. Although officers claimed that the hotel had called to report a domestic dispute
                                                  10
                                                       and possible child custody issue, the Computer Automated Dispatch does not reflect the report of
                                                  11
                                                       a child custody issue coming into the police.
                                                  12
                                                                  18. Moreover, Defendant officers claimed a hotel call told them he was not allowed to
                                                  13
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                                                       take the baby. Plaintiff responded how it was possible the hotel would know that. Defendants
                                                  14
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                                                  15
                                                       insisted that he prove his relationship to his daughter and consent to have her. Plaintiff conceded

                                                  16 and instructed his friend, who was filming, to call the mother. Defendant officer stated that was

                                                  17 what he had told him to do in the first place. Plaintiff responded that the officer did not say that

                                                  18 but had challenged Plaintiff to hit him. In response, Defendant officer challenged Plaintiff to

                                                  19 fight again and bumped him with his chest and said, “Come on.”

                                                  20              19. One of the officers interceded to calm down the more aggressive SFPD officer.
                                                  21
                                                       Plaintiff provided his name to the officers. Defendant officers continued to refuse to believe Mr.
                                                  22
                                                       Morales, an African-American man, was the father of his baby who appeared Asian-American
                                                  23
                                                       and aggressively got in his face. Officers continued to act aggressive as he held his child in his
                                                  24
                                                       arms. After some time, Ms. Chau saw Mr. Morales and the situation occurring. Ms. Chau and
                                                  25



                                                                                   SECOND AMENDED COMPLAINT FOR DAMAGES
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                                                       Mr. Morales again attempted to explain to the officers that Mr. Morales was indeed the
                                                   1
                                                       biological father of the child and that Ms. Chau was the biological mother. Officers continued to
                                                   2

                                                   3 act aggressively towards the plaintiffs and refused to believe them then finally permitted them to

                                                   4 leave.

                                                   5                                               DAMAGES

                                                   6               20. As a consequence of Defendants’ violations of Plaintiffs’ federal civil rights
                                                   7 under 42 U.S.C. §1983 and the Fourth Amendment, Plaintiffs were physically, mentally,

                                                   8
                                                       emotionally, and financially injured and damaged as a proximate result of Defendants' wrongful
                                                   9
                                                       conduct.
                                                  10
                                                                   21. Plaintiffs found it necessary to engage the services of private counsel to vindicate
                                                  11
                                                       their rights under the law. Plaintiffs are therefore entitled to an award of attorneys’ fees and/or
                                                  12
                                                       costs pursuant to statute(s) in the event that they are the prevailing parties in this action under 42
                                                  13
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                                                       U.S.C. §§ 1983 and 1988. Plaintiffs are also entitled to punitive damages under 42 U.S.C. §§
                                                  14
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                                                  15
                                                       1983 and 1988.

                                                  16                                         CAUSES OF ACTION

                                                  17
                                                                                  FIRST CAUSE OF ACTION
                                                  18        (Fourth Amendment – Unlawful Detention/Arrest under 42 U.S.C. Section 1983)
                                                                           (PLAINTIFF MORALES against DOES 1-25)
                                                  19
                                                                   22. Plaintiffs hereby re-allege and incorporate by reference each and every
                                                  20
                                                       paragraph of this Complaint.
                                                  21

                                                  22               23. When Defendants stopped Plaintiff Morales and detained him without any

                                                  23 reasonable suspicion and/or probable cause to detain Plaintiff and issued no lawful warnings

                                                  24 and/or instructions.

                                                  25



                                                                                   SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                                            Morales, et al. v. CCSF, et al.
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                                                                  24. Defendants continued to detain Mr. Morales after explaining that he was not
                                                   1
                                                       being charged for any crime.
                                                   2

                                                   3              25. Furthermore, Plaintiff had not committed any crimes. Therefore, Defendants’

                                                   4 detention of Plaintiff was an unlawful seizure that violated both his training and Plaintiffs’

                                                   5 constitutional rights under the Fourth Amendment.

                                                   6              26. As a result of their misconduct, Defendants are liable for Plaintiffs’ injuries and
                                                   7 detention.

                                                   8
                                                              WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
                                                   9
                                                                                  SECOND CAUSE OF ACTION
                                                  10              (Fourth Amendment – Excessive Force under 42 U.S.C. Section 1983)
                                                                             (PLAINTIFF MORALES against DOES 1-25)
                                                  11
                                                                  27. Plaintiffs hereby re-allege and incorporate by reference each and every
                                                  12
                                                                     paragraph of this Complaint.
                                                  13
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                                                                  28. When Defendants stopped Plaintiff Morales and detained him without any
                                                  14
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                                                  15
                                                                     reasonable suspicion and/or probable cause to detain Plaintiff and issued no

                                                  16                 lawful warnings and/or instructions.

                                                  17              29. Defendants then placed hands and grabbed at Mr. Morales when they have

                                                  18                 absolutely no lawful basis to use any force at all.

                                                  19              30. Furthermore, Plaintiff had not committed any crimes. Therefore, Defendants’
                                                  20                 touching and use of any force, even control holds, was excessive force that
                                                  21
                                                                     violated both his training and Plaintiffs’ constitutional rights under the Fourth
                                                  22
                                                                     Amendment.
                                                  23
                                                                  31. As a result of their misconduct, Defendants are liable for Plaintiffs’ injuries and
                                                  24
                                                                     detention.
                                                  25



                                                                                  SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                                           Morales, et al. v. CCSF, et al.
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                                                       WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
                                                   1
                                                                             THIRD CAUSE OF ACTION
                                                   2
                                                              (Assault – Violation of CALIFORNIA PENAL CODE § 242)
                                                   3       (PLAINTIFF MORALES against DEFENDANT CCSF and DOES 1-25)

                                                   4
                                                          32. Plaintiff hereby re-alleges and incorporates by reference each and every
                                                   5
                                                              paragraph of this Complaint.
                                                   6
                                                          33. Defendant, while working as an employee for the Defendant CCSF police
                                                   7
                                                              department, and acting within the course and scope of their duties, intentionally
                                                   8

                                                   9          assaulted Plaintiff without a lawful basis by threatening force, grabbing and

                                                  10          then continually seizing, touching and pulling on Plaintiff while holding

                                                  11          Plaintiff S.M. in his arms.

                                                  12      34. As a result of the actions of the Defendant, Plaintiff suffered injury. Defendant

                                                  13
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                                                              and Does did not have legal justification for using force against Plaintiff, and
                                                  14
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                                                              Defendants’ use of force while carrying out his duties was an unreasonable use
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                                                  15
                                                              of force.
                                                  16
                                                          35. Defendant CCSF is vicariously liable, pursuant to California Government Code
                                                  17
                                                              § 815.2, for the violation of rights by its employees and agents.
                                                  18
                                                          36. As a direct and proximate result of Defendants' battery of Plaintiff, Plaintiff
                                                  19
                                                              sustained injury and damages, and is entitled to relief as set forth above.
                                                  20
                                                       WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
                                                  21

                                                  22                        FOURTH CAUSE OF ACTION
                                                              (Battery – Violation of CALIFORNIA PENAL CODE § 242)
                                                  23       (PLAINTIFF MORALES against DEFENDANT CCSF and DOES 1-25)

                                                  24

                                                  25



                                                                          SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                                   Morales, et al. v. CCSF, et al.
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                                                              37. Plaintiff hereby re-alleges and incorporates by reference each and every
                                                   1
                                                                  paragraph of this Complaint.
                                                   2

                                                   3          38. Defendant, while working as an employee for the Defendant CCSF police

                                                   4              department, and acting within the course and scope of their duties, intentionally

                                                   5              assaulted Plaintiff without a lawful basis by grabbing and then continually

                                                   6              seizing, touching and pulling on Plaintiff while holding Plaintiff S.M. in his
                                                   7              arms.
                                                   8
                                                              39. As a result of the actions of the Defendant, Plaintiff suffered injury. Defendant
                                                   9
                                                                  and Does did not have legal justification for using force against Plaintiff, and
                                                  10
                                                                  Defendants’ use of force while carrying out his duties was an unreasonable use
                                                  11
                                                                  of force.
                                                  12
                                                              40. Defendant CCSF is vicariously liable, pursuant to California Government Code
                                                  13
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                                                                  § 815.2, for the violation of rights by its employees and agents.
                                                  14
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                                                  15
                                                              41. As a direct and proximate result of Defendants' battery of Plaintiff, Plaintiff

                                                  16              sustained injury and damages, and is entitled to relief as set forth above.

                                                  17       WHEREFORE, Plaintiff prays for relief as hereinafter set forth.

                                                  18

                                                  19
                                                                                FIFTH CAUSE OF ACTION
                                                  20                                  (Negligence)
                                                       (PLAINTIFF against DEFENDANTS CCSF, JUSTICE OPERATING COMPANY, LLC and
                                                  21
                                                                                       DOES 1-25)
                                                  22

                                                  23          42. Plaintiff hereby re-alleges and incorporate by reference each and every

                                                  24              paragraph of this Complaint except any reference to intentional conduct.

                                                  25



                                                                              SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                                       Morales, et al. v. CCSF, et al.
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                                                                  43. At all times, Defendants CCSF, HILTON and Does owed Plaintiff the duty to
                                                   1
                                                                      act with due care in the execution and enforcement of any right, law, or legal
                                                   2

                                                   3                  obligation.

                                                   4              44. DEFENDANT HILTON had a duty to not make false police reports against

                                                   5                  against Plaintiffs and endanger them.

                                                   6              45. At all times, Defendants CCSF, JUSTICE OPERATING COMPANY, LLC and
                                                   7                  Does owed Plaintiff the duty to act with reasonable care.
                                                   8
                                                                  46. These general duties of reasonable care and due care owed to Plaintiff by
                                                   9
                                                                      Defendant CCSF include but are not limited to the following specific obligations:
                                                  10
                                                                       a.     to refrain from using excessive and/or unreasonable force against Plaintiff;
                                                  11
                                                                       b.     to refrain from unreasonably creating the situation where force, including
                                                  12
                                                       but not limited to excessive force, is used;
                                                  13
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                                                                       c.     to refrain from abusing their authority granted them by law;
                                                  14
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                                                  15
                                                                       d.     to refrain from violating Plaintiffs’ rights guaranteed by the United States

                                                  16 and California Constitutions, as set forth above, and as otherwise protected by law.

                                                  17              47. Defendants, through their acts and omissions, breached each and every one of the

                                                  18                  aforementioned duties owed to Plaintiff.

                                                  19              48. Defendants are vicariously liable for the wrongful acts and omissions of its
                                                  20                  employees and agents pursuant to Cal. Gov. Code section 815.2.
                                                  21
                                                                  49. As a direct and proximate result of Defendant's negligence, Plaintiff sustained
                                                  22
                                                                      injuries and damages, and against each and every Defendant is entitled to relief as
                                                  23
                                                                      set forth above.
                                                  24
                                                                                         SIXTH CAUSE OF ACTION
                                                  25                                (False Imprisonment/Illegal Detention)


                                                                                    SECOND AMENDED COMPLAINT FOR DAMAGES
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                                                          (PLAINTIFF MORALES against DEFENDANT CCSF and DOES 1-25)
                                                   1
                                                         50. Plaintiff hereby re-alleges and incorporates by reference each and every paragraph
                                                   2

                                                   3        of this Complaint.

                                                   4     51. Defendants and DOES 1-25 detained and assaulted Plaintiff without just cause

                                                   5        and under false pretenses. Defendants restrained, detained, and/or confined

                                                   6        Plaintiff without his consent or a lawful basis for a significant period of time.
                                                   7     52. As a result of the Defendants and Does 1-50 unlawful confinement, Plaintiff
                                                   8
                                                            suffered emotional distress and physical injury.
                                                   9
                                                         53. Defendant CCSF is vicariously liable, pursuant to California Government Code
                                                  10
                                                            § 815.2, for the violation of rights by its employees and agents.
                                                  11
                                                         WHEREFORE, Plaintiff prays for relief as hereinafter set forth
                                                  12

                                                  13
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                                                                         SEVENTH CAUSE OF ACTION
                                                  14
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                                                                     (Negligent Infliction of Emotional Distress)
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                                                             (PLAINTIFF S.M. against DEFENDANT CCSF and DOES 1-25)
                                                  15

                                                  16     54. Plaintiffs re-allege and incorporate by reference each and every paragraph of

                                                  17        this Complaint.

                                                  18     55. Plaintiffs S.M., witnessed defendants’ above-described conduct and injuries to

                                                  19        Plaintiff Morales. Defendants threatened, assaulted and accosted
                                                  20        minor Plaintiffs’ biological father, Plaintiff Morales, while Plaintiff S.M. was in
                                                  21
                                                            his arms, which the toddler saw and heard causing serious emotional distress.
                                                  22
                                                            Indeed, Plaintiffs’ child watched Defendant Does continually grab, pull, as well
                                                  23
                                                            as, physically and verbally harass her father.
                                                  24

                                                  25



                                                                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                                  Morales, et al. v. CCSF, et al.
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                                                                 56. In engaging in the above-described conduct, Defendants’ negligence was
                                                   1
                                                                     a substantial factor in causing Plaintiffs serious emotional distress.
                                                   2

                                                   3             WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.

                                                   4

                                                   5                                             JURY DEMAND

                                                   6             57. Plaintiff hereby demands a jury trial in this action.

                                                   7

                                                   8                                               PRAYER

                                                   9
                                                          Wherefore, Plaintiffs pray for relief, as follows:
                                                  10
                                                                 1. For general damages in a sum according to proof;
                                                  11
                                                                 2. For special damages in a sum according to proof;
                                                  12
                                                                 3. For punitive damages against DOES 1-50;
                                                  13
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                                                  14             4. All other damages, penalties, costs, interest, and attorney fees as allowed by 42
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                                                  15                 U.S.C. §§ 1983 and 1988, Cal. Civil Code §§ 52 et seq., 52.1, and as otherwise

                                                  16                 may be allowed by California and/or federal law against Defendant CITY AND

                                                  17                 COUNTY OF SAN FRANCISCO and its employees.

                                                  18             5. For cost of suit herein incurred; and
                                                  19
                                                                 6. For such other and further relief as the Court deems just and proper.
                                                  20
                                                       Date: November 8, 2021                                  Respectfully submitted,
                                                  21

                                                  22                                                 POINTER & BUELNA, LLP
                                                  23                                                 LAWYERS FOR THE PEOPLE

                                                  24
                                                                                                     /s/ Patrick Buelna
                                                  25                                                 PATRICK M. BUELNA
                                                                                                     COUNSEL FOR PLAINTIFF

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